   Case
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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL ACTION

VERSUS                                                 NO. 12-309

CHARLES JOHNSON                                        SECTION "B"(1)

                           ORDER AND REASONS

     Before the Court are Defendant Charles Johnson's ("Defendant")

Motion to Dismiss Count Two of the Indictment and the Government's

                                          1 & 33).
Opposition to the motion (Rec. Docs. No. 32                       Accordingly,

and for the reasons articulated below,

     IT IS ORDERED that the motion is DENIED.               Taking judicial

notice of evidence introduced at the related hearing of Defendant's

motion to suppress evidence and the denial of same with reasons,

there is sufficient evidence for the trier-of-fact to find that

Defendant   committed     the   offenses     charged   in   the    indictment,

including the charge at issue in Count Two, possession of a firearm

in furtherance of the alleged drug trafficking crime.                  Further,

prosecution through trial on the merits via a legally sufficient

grand jury indictment may not be barred merely on grounds that

allegations    in   the   indictment   are    not   supported     by   adequate

evidence.     U.S. v. Mann, 517 F.2d 259, 267 (5th Cir. 1975).

     New Orleans, Louisiana, this 20th day of March, 2013.




                                           ____________________________
                                           UNITED STATES DISTRICT JUDGE
